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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


DALANEA TAYLOR, et al.,

      Plaintiffs,

v.                                                   Case No. 8:21-cv-555-SDM-CPT

CHRIS NOCCO,

      Defendant.
__________________________/



                                     ORDER

      In May 2021, the Court directed the undersigned to conduct regular hearings

with the parties for the purpose of discussing the progress of this action.       The

undersigned has since presided over a number of such hearings, including one as

recently as yesterday.

      In light of the Court’s February 4, 2022, Order extending the discovery deadline

(Doc. 69), and in light of the undersigned’s discussion with the parties at yesterday’s

hearing, the undersigned finds it appropriate to revise the schedule for his regular

hearings with counsel. Accordingly, it is hereby ORDERED:

      1.     The parties shall appear via Zoom videoconference at the following

hearings before the undersigned:
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                   Tuesday, March 8, 2022                 11:00 a.m.
                   Tuesday, April 5, 2022                 11:00 a.m.
                   Tuesday, May 10, 2022                  11:00 a.m.
                   Tuesday, June 7, 2022                  11:00 a.m.


This schedule shall supersede the prior schedule issued by the undersigned in May

2021. (Doc. 29).

       2.    As before, the undersigned may schedule additional hearings if he deems

such further hearings necessary and appropriate to facilitate the orderly disposition of

the case.

       3.    Also as before, no later than three (3) business days prior to each of the

above hearings, the parties shall file a joint notice, not to exceed three (3) pages,

describing the progress of discovery, as well as any other matters that may impact the

parties’ ability to meet the deadlines set forth in the Court’s February 4 Order (Doc.

69).

       4.    Nothing herein shall operate to excuse the parties from complying with

the deadlines and other requirements imposed by the Court in its February 4 Order

(Doc. 69).

       SO ORDERED in Tampa, Florida, this 10th day of February 2022.




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Copies to:
Counsel of record




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